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         C. Collins
         ccollinsl600@gmail.com
         Budapest, Hungary


         March 1, 2019


         Hon. I. Leo Glasser
                                                                                        RECEIVED
         United States District
                       Distrii Judge
         United States District
         United States Distrii Court                                                      MAR 0 4 2019
         ^tem Distrto of New York                                                         Chambers oi
         225 Cadman Plaza Bast                                                           .,      ri- -
         Courtroom 8B South, Chambers Room 921 South                                     ,A
         Brooklyn,NY 11201                                                        United Stales District Judge


         Re:    U.S. v. Sater,98-cr-l 101



         Dear Honorable Leo Glasser:


         By letter filed on February 22 of this year,reporter Johnny Dwyer moved to unseal certain
         documents in this case. I herebyjoin in the application, but seek instead immediate unsealing of
         each item in the case. By order dated January 23,2019, you acknowledged that this case is of
         great public importance.

         I understand that the court set a date of March 25, 2019 by which Mr. Felix Sater and the
         government should respond to Mr. Dwyer's motion. However, as you know, motions to unseal
         are required to be taken up expeditiously. I therefore request that you take up and decide my
         motion to unseal each document in this case this week.


         As you may know, Mr. Sater is scheduled to appear before the House Intelligence Committee on
         March 14,2019,in a public hearing. Obviously, all information about Sater's case is of great
         public importance, and the public as well as the Intelligence Committee should receive the fuUest
         possible understanding ofa case that is of"extreme public interest."

         As your honor is no doubt aware,on February 21, 2019,in the Jane Doe v. United States case,
         08-CV-8073(SD Fla), Judge Marra held that federal prosecutors broke the law when they failed
         to confer with Jeffrey Epstein's victims before they allowed his case to be dismissed. The
         Epstein case and the Sater case are remarkably similar in a number ofrespects.

         Accordingly, I request the immediate unsealing, during the coming week, of document in this
         case,in unredacted form.
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         I request that this letter be docketed immediately and that a hearing be scheduled as soon as
         possible.

         Although I am a U.S. citizen,I currently reside in Budapest. Accordingly,I will be unable to
         appear in person for any hearing, and I request the opportunity to appear by telephone. If that
         cannot be accommodated,I waive my appearance under the assumption that other journalists
         who ^pear for the hearing will be able to speak in my behalf.



         Very truly yours.



         C. Collins
